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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

 

UNITEI) STATES SECURITIES
AND EXCHANGE COMMISSION,
Plaintiff, Civil Action No. lS-CV-SSS'!

v.
Hon. Judge John Z. Lce
EQUITY BUILD, INC.,

EQUITY BUILD FINANCE, LLC,
JEROME H. COI'IEN and
SHAUN D. C()HEN

Defendants,

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REPLY TO OPPOSITION OF THE SEC AND RECEIVER
TO FIRST APPLICATION OF MARK L. ROSENBERG, ESQ.
FOR ALLOWANCE OF COMPENSATION
AS COUNSEL "l`O EOUITY BUlhD, lNC. AND EOUITY BUILD `FINANCE LLC

 

Background Statement

On September 7, 2018, l\/Iark L. Rosenberg, Esq. submitted his First Application for
Allowance ot` Compensation in the amount of $l2,l77.08 for the actual and reasonable legal
expenses of representing EquityBuild, lnc. and EquityBuild Finanee, LLC for the period of July
16, 2018 throuin August 15, 20]8 (until the notification from the SEC that it had brought this
action, at approximately 6:05 p.m. on Wednesday, August l5. 2018) and for the actual and
reasonable legal expenses of representing all Defendants after said notification up and until the
entry Ofthe Ternporary Restraining Order (Dl<t. 15) on August 17, 2013.

Both the SEC and the Receiver have opposed this applicationl Their oppositions, and

particularly the opposition of the Receiver, represent an improper and naked attempt to deny the

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individual defendants, Jerome H. Cohen and Shaun D. Cohen1 the counsel of their choice. By
making inflammatory, untrue and possibly defamatory statements against l\/lr. RosenbergJ both
the Receiver and the SEC are attempting to create a situation Where the individual defendants
cannot defend themselves proper|y, cannot house or feed their families, and cannot go on With

their lives.

(l) Bv Raising this Issue in an Opposition, Both the SEC and the Receiver
do so Improperly

The statements made by both the SEC and the Receiver concerning l\/lr. Rosenberg
alleged participation in the “fraud” are improper, Without foundation, and made in an improper
format The Receiver and the SEC have means to address any legitimate claims that they may
have. Instead, they raise this matter in response to l\/ir. Rosenbcrg's Fee Application. As stated

below, such representations to the Court are completely untrue and without foundation

(2) Mr. Rosenberg ])id Not Partici])ate in any Improper Activities.

Mr. Rosenberg vvas retained by EquityBuild, lnc. and its affiliates to perform several
functions First, he vvas hired to represent the companies in their responses to the SEC subpoena
and its non-public investigation, vvhich he did over a long period of time. ln fact, much of the
fees paid to l\/[r. Rosenberg’s law firm were for the purpose of cooperating with the SEC in its
investigation, scheduling and attending oral testimony given by principals and employees of the
companies, and otherwise making certain that the SEC vvas able to carry out its investigation in a
proper manner. l\/Ir. Rosenberg informed the SEC during the oral testimony given by Jerome H.

Cohen and Shaun D. Cohen in the investigation that he represented them individually The SEC

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did not object to such representation even thouin it was aware that l\/lr. Rosenberg also
represented the EquityBuild companies

l\/lr. Rosenberg was also retained to assist with preparing certain offering materials for the
EquityBuild companiesl l\/lr. Rosenberg prepared those materials in accordance with his
obligations under the securities laws.

l\/lr. Rosenberg prepared certain private placement memoranda ("PPl\/[s") in 2017' and
2018 using information about the propel'ties, the budgets, and other relevant materials provided
by EquityBuild personnel. Because 1\/11‘. Rosenberg*s engagement did not include providing any
legal opinion concerning the PPl\/ls, he did not independently verify the information he received.
1\/1r. Rosenberg's role was limited to putting information he received from EquityBuild into a
PPl\/i format. See, e.g., Exhibit A hereto, a transmittal letter of a draft of a PPM from l\/lr.
Rosenberg to EquityBuild.

Nothing the SEC or Receiver has put before the Court shows that l\/lr. Rosenberg knew
that the information he was provided either was not accurate or was not complete in any material
way. Thus, the notion that Mr. Rosenberg somehow participated in any activity intending to
defraud any investor or had any substantive knowledge of any untrue statement made by
EquityBuild, lnc. or its affiliates, is simply untrue.

The Receiver (and, to a lesser extent, the SEC) seems to be implying that 1\/lr. Rosenberg
was an “aider and abettor” and therefore should be punished by the denial of his reasonable
attorney’s fees. The cases have been clear that, in order to establish such an “aider and abettor”
liability, the facts must demonstrate that the person had actual knowledge of the

misrepresentations and rendered “substantial assistance” in the securities fraud. See, eg., Rose v.

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Arknnsas Vniiey Enw'ronnientai & Ut."h`ty Ant'f?ori`ly, et. af., 562 l?. Supp.1180 (W.D. l'\/lo. 1983)

at 1200. There is no evidence that either of these factors was present here.

(3) Courts have Equitable Powers to Order Payment of Legal Fces.

Courts have broad discretion in supervising the distribution of assets in SEC enforcement
actions See, e.g., SEC v. Weailh Mgmt, LLC, 628 F.3d 323. 332~33 (7th Cir. 2010) (“[T]he
primary job of the district court is to ensure that the proposed plan of distribution is fair and
reasonable.”) A variety of courts that have considered fee requests in similar SEC enforcement
matters have exercised that discretion to grant fee requests For instance, the United States
District Court for the Western District of Wisconsin “recognize[d] the importance of
encouraging attorneys to represent those charged with fraud" and provided a mechanism for
compensating a law firm for it fees incurred, which was approximately 3850,000.00. United
Smres Sec. & Exch. Comm'n v. [SC, fnc., No. 15-CV-45-.1DP, 2016 WL 6124499_, at *3 (W.D.
Wis. Oct. 20, 2016), appeal dismissed sub nom. Sec. & Exch. Comm'n v. Honefi, LLC, No. 16-
3951, 2017 WL 5897592 (7th Cir. Scpt. 29, 2017). ln allowing for the payment of attorneys’
fees, the Court recognized that the law firm’s representation “also benefitted the SEC, the court,
and even the investors by helping keep [the defendant company] up and running.” ld.

Similarly, the United States District Court for the Western District of Virginia expressed
a willingness to approve reasonable attorneys’ fees for a defendant in a SEC enforcement action.
S.E.C. v. Dowdefi, 175 F. Supp. 2d 850, 855 (W.D. Va. 2001). ln doing so, the Court opined that
it could not achieve a fair result if the defendants were denied the ability to retain counsel. ld.
Other_iurisdictions have reached similar results. See S.E.C. v. Qtiinn, 997 F.2d 287* 289 (7th Cir.

1993) (noting that the district “indicated willingness to release small amounts so that [the

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defendant] could defend [the] suit."`); SEC v. Dtrclaud Gonza[ez de Ccrstr`l/a, 170 F.Supp.2d 427

(s.D.N.Y. 2001).

(4) Courts have Concluded that Individual Defendants in Securitics Litigation Deserve
Representation and that Comnensation of their Attornevs is in the Pnblic Interest.

As Judge Lee has already recognized in this case, advice from experienced securities
attorneys is important to this case. ln approving l’\/ls. Braganea's fees, the Court noted that the
individual defendants had consented to a bifurcated judgment in the case. As a result, the fees
and expenses that the Receiver incurs should be significantly reduced. Had l\/lr. Rosenberg not
represented the EquityBuild companies before the TRO was filed, he would not have had the
background knowledge to advise his clients as to whether to consent to a bifurcated judgment

lt should be noted that much of l\/lr. Rosenberg’s time since August 17, 2018 has
consisted of assisting his clients in responding to the Receiver’s requests for information about
the companies under the Receiver`s control and the information necessary to the Receiver’s
operation ofthose companies lf the individual defendants are forced now to select new counsel
who is unfamiliar with this case, the cost to the individual defendants will necessarily increase
Tlie Court should not allow the SEC and the Receiver to take actions that will deprive the
Cohens of their choice of counsel, counsel who is experienced in securities matters and who is

familiar with this matter.

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WHEREFORE, l\/lark L. Rosenberg, Esq. respectfully requests that the Court authorize the

payment of$12,177.08 by the Receiver Kevin Duff from Receivership Assets.

Respectfully submitted,

/s/Mark L. Rosenberg

l\/lark L. Rosenberg

Counsel for Defendants

.lerome H. Cohen and Shaun D. Cohen
(DC Bar #18521)

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CERTIFICATE OF SERVICE

l hereby certify that a copy of the foregoing document has been served on October 4, 2018 by
filing with the Clerk of Court using CM/'ECF system, which will send notification of such filing

to counsel of record.

/s/Mcrrk L. Rosenberg

